     Case 5:21-cv-01958-ODW-E Document 23 Filed 07/08/22 Page 1 of 1 Page ID #:1572



 1

 2

 3

 4

 5                                                                                         JS-6
 6

 7

 8                                         UNITEDSTATESDISTRICTCOURT
 9                                         CENTRALDISTRICTOFCALIFORNIA
10

11    LAURIEA.M.,                              )   NO.EDCV21Ͳ1958ͲODW(E)
                                                                )
12                         Plaintiff,           )
                                                                )
13           v.                                                 )         JUDGMENT
                                                                )
14    KILOLOKIJAKAZI,Acting                     )
      CommissionerofSocialSecurity,                          )
15                                                              )
                           Defendant.           )
16                                                            )
17

18           ITISHEREBYADJUDGEDthatDefendant’smotionforsummaryjudgmentisgrantedand
19    judgmentisenteredinfavorofDefendant.
20

21           DATED:July8,2022.
22

23
                                                      _________________________________
24                                                             OTISD.WRIGHTII
                                                         UNITEDSTATESDISTRICTJUDGE
25

26

27

28
